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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

 WILLIAM BELL,                                      §
                                                    §
      Plaintiff,
                                                    §
                                                    §
 v.                                                           CASE NO. 5:18-CV-00243-OLG
                                                    §
                                                    §
                                                    §
 PORTFOLIO RECOVERY ASSOCIATES,
                                                    §
 LLC,
                                                    §
      Defendant.                                    §

                              JOINT NOTICE OF SETTLEMENT

         Plaintiff William Bell and Defendant Portfolio Recovery Associates, LLC (collectively

referred to as the “Parties”) by and through their respective counsel, hereby submit this Joint Notice

of Settlement. The Parties have reached an agreement to settle the above-captioned matter in full

and are in the process of finalizing the settlement and filing a dismissal with prejudice.

Dated: June 10, 2021

Respectfully submitted,


 By: /s/ Chris R. Miltenberger                      By: /s/ James K. Trefil
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                                                    Dallas, Texas 75231
                                                    COUNSEL FOR DEFENDANT
                                                    PORTFOLIO RECOVERY ASSOCIATES, LLC

Joint Notice of Settlement
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 10th day of June 2021, I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system, which will send a notification of such filing to all

counsel record.



                                              /s/ Chris R. Miltenberger
                                              Chris R. Miltenberger




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